           Case 23-11131-TMH      Doc 1363-2      Filed 03/19/24   Page 1 of 4


                                      EXHIBIT A
                        AMYRIS, INC., ET AL. - CASE NO. 23-11131
                       SUMMARY OF HOURS BY PROFESSIONAL
                FOR THE PERIOD FEBRUARY 1, 2024 TO FEBRUARY 29, 2024


                                                         Billing   Total         Total
         Professional                  Position           Rate     Hours         Fees
Michael Katzenstein          Senior Managing Director   $ 1,495      10.5        $15,697.50

Clifford Zucker              Senior Managing Director      1,390      1.3          1,807.00

Elizabeth Hu                 Senior Managing Director      1,180      3.8          4,484.00

Megan Hyland                 Managing Director             1,110      7.0          7,770.00

Monica Healy                 Senior Consultant               790      8.2          6,478.00

Alysen Garces                Consultant                      555      2.6          1,443.00

Marili Hellmund-Mora         Manager                         325      0.9            292.50

GRAND TOTAL                                                          34.3        $37,972.00
            Case 23-11131-TMH           Doc 1363-2        Filed 03/19/24   Page 2 of 4


                                     EXHIBIT B
                       AMYRIS, INC., ET AL. - CASE NO. 23-11131
                           SUMMARY OF HOURS BY TASK
                FOR THE PERIOD FEBRUARY 1, 2024 TO FEBRUARY 29, 2024

Task                                                                          Total      Total
Code                           Task Description                              Hours       Fees
 2     Cash & Liquidity Analysis                                                0.3        $166.50

 11    Prepare for and Attendance at Court Hearings                             0.8        1,042.00

 14    Analysis of Claims/Liabilities Subject to Compromise                     9.1        8,812.50

 16    POR & DS - Analysis, Negotiation and Formulation                        14.4       18,882.00

 18    Potential Avoidance Actions & Litigation Matters                         2.1        2,807.00

 22    Meetings with Other Parties                                              0.9        1,174.00

 24    Preparation of Fee Application                                           6.7        5,088.00

       GRAND TOTAL                                                             34.3      $37,972.00
                       Case 23-11131-TMH       Doc 1363-2         Filed 03/19/24          Page 3 of 4


                                                    EXHIBIT C
                                      AMYRIS, INC., ET AL. - CASE NO. 23-11131
                                            DETAIL OF TIME ENTRIES
                               FOR THE PERIOD FEBRUARY 1, 2024 TO FEBRUARY 29, 2024

  Task
               Date          Professional    Hours                                        Activity
Category
    2      2/6/2024    Alysen Garces          0.3    Prepare report for the Committee re: liquidity update.
 2 Total                                      0.3
   11      2/2/2024    Michael Katzenstein    0.4    Attend hearing regarding the judge's ruling on confirmation (virtual).
   11      2/2/2024    Megan Hyland           0.4    Attend hearing regarding the judge's ruling on confirmation (virtual).
11 Total                                      0.8
   14      2/1/2024    Megan Hyland           0.8    Review draft stipulation with creditor.
   14      2/1/2024    Monica Healy           0.6    Review proof of claims for landlord and litigation claimants.
   14      2/2/2024    Megan Hyland           0.4    Prepare summary of key claims.
   14      2/5/2024    Elizabeth Hu           0.7    Discuss key unsecured claims with Debtors' financial advisor.
   14      2/5/2024    Megan Hyland           0.2    Assess key outstanding claims.
   14      2/6/2024    Megan Hyland           0.2    Follow up on with Debtors' advisors on outstanding questions re: key claims.
   14      2/8/2024    Elizabeth Hu           0.5    Participate on call with Debtors' financial advisors to walk through claims
                                                     register and related questions (partial).
   14      2/8/2024    Megan Hyland           0.8    Participate on call with Debtors' financial advisors to walk through claims
                                                     register and related questions.
   14      2/8/2024    Clifford Zucker        0.6    Participate on call with Counsel on claims activity.
   14      2/8/2024    Alysen Garces          0.3    Provide update to team re: key takeaways on claims and preferences.
   14      2/8/2024    Alysen Garces          0.8    Participate in call with Debtors' financial advisor re: claims and preferences.
   14      2/8/2024    Megan Hyland           0.4    Prepare update on preference analysis and claims.
   14      2/12/2024   Elizabeth Hu           0.4    Participate on call with Debtors' financial advisor to walk through claims.
   14      2/12/2024   Megan Hyland           0.3    Participate on call with Debtors' advisors re: litigation claims (partial).
   14      2/12/2024   Monica Healy           1.5    Review correspondence re: claims and prepare updated analysis of register.
   14      2/12/2024   Alysen Garces          0.4    Participate on call Debtors' financial advisor re: claims and preferences.
   14      2/26/2024   Monica Healy           0.2    Research claim re: trade vendor.
14 Total                                      9.1
   16      2/1/2024    Michael Katzenstein    0.8    Assess status and review correspondence re: effective date planning and trustee
                                                     readiness.
   16      2/2/2024    Michael Katzenstein    0.9    Follow up with team re: confirmation hearing.
   16      2/2/2024    Michael Katzenstein    0.4    Correspond with Counsel re: next steps after confirmation.
   16      2/5/2024    Michael Katzenstein    0.6    Correspond with Counsel re: effective date planning and trustee readiness.
   16      2/6/2024    Elizabeth Hu           0.4    Participate on call with Counsel re: preparing materials on key issues for
                                                     creditor trustee.
   16      2/6/2024    Michael Katzenstein    0.4    Participate on call with Counsel re: preparing materials on key issues for
                                                     creditor trustee.
   16      2/6/2024    Michael Katzenstein    0.7    Correspond with Debtor advisors re: confirmation and case status.
   16      2/6/2024    Megan Hyland           0.4    Participate on call with Counsel re: preparing materials on key issues for
                                                     creditor trustee.
   16      2/8/2024    Michael Katzenstein    0.8    Correspond with plan parties re: confirmation and effective date planning.
   16      2/8/2024    Clifford Zucker        0.5    Review and analyze plan effective date funding schedule.
   16      2/12/2024   Michael Katzenstein    0.5    Review exit plan and related correspondence.
   16      2/13/2024   Michael Katzenstein    0.6    Review case correspondence re: exit planning.
   16      2/13/2024   Michael Katzenstein    0.2    Participate on weekly call with Debtors' advisors re: effective date items.
                        Case 23-11131-TMH        Doc 1363-2         Filed 03/19/24         Page 4 of 4


                                                    EXHIBIT C
                                      AMYRIS, INC., ET AL. - CASE NO. 23-11131
                                            DETAIL OF TIME ENTRIES
                               FOR THE PERIOD FEBRUARY 1, 2024 TO FEBRUARY 29, 2024

  Task
                Date         Professional      Hours                                       Activity
 Category
    16      2/13/2024   Megan Hyland           0.2     Participate on weekly call with Debtors' advisors re: effective date items.
    16      2/13/2024   Clifford Zucker        0.2     Participate on weekly call with Debtors' advisors re: effective date items.
    16      2/14/2024   Megan Hyland           0.3     Participate on call with Debtors' advisors re: sources/uses.
    16      2/14/2024   Megan Hyland           0.7     Review draft sources/uses.
    16      2/14/2024   Monica Healy           0.3     Participate on call with Debtors' advisors re: sources/uses.
    16      2/14/2024   Monica Healy           0.7     Prepare for call with Debtors' advisors re: sources/uses.
    16      2/14/2024   Alysen Garces          0.5     Review latest DIP budget re: sources/uses.
    16      2/15/2024   Michael Katzenstein    0.4     Assess status of exit and preparation matters.
    16      2/15/2024   Megan Hyland           0.3     Review responses to questions on sources/uses.
    16      2/15/2024   Monica Healy           0.2     Correspond with Debtors' financial advisor re: sources and uses.
    16      2/19/2024   Michael Katzenstein    0.6     Review and correspond re: planning for effective date.
    16      2/20/2024   Michael Katzenstein    0.7     Prepare for call with Debtors' advisors re: effective date matters.
    16      2/20/2024   Michael Katzenstein    0.3     Participate on call with Debtors' advisors re: key case updates.
    16      2/20/2024   Megan Hyland           0.3     Participate on call with Debtors' advisors re: key case updates.
    16      2/22/2024   Michael Katzenstein    0.3     Correspond with Debtors' and Counsel re: exit matters.
    16      2/23/2024   Michael Katzenstein    0.3     Review correspondence re: trustee readiness and exit matters.
    16      2/26/2024   Elizabeth Hu           0.3     Draft a response to case update inquiry from a committee member.
    16      2/27/2024   Elizabeth Hu           0.3     Respond to committee member inquiry re: case status.
    16      2/28/2024   Elizabeth Hu           0.3     Follow up on inquiry by a committee member.
 16 Total                                      14.4
    18      2/7/2024    Megan Hyland           0.5     Follow up with Debtors' advisors on changes to preference analysis.
    18      2/8/2024    Elizabeth Hu           0.2     Participate on call with AHG and Committee counsel re: preference lists.
    18      2/8/2024    Megan Hyland           0.2     Participate on call with AHG and Committee counsel re: preference lists.
    18      2/12/2024   Michael Katzenstein    0.4     Review preference analysis.
    18      2/13/2024   Michael Katzenstein    0.3     Review preference analysis.
    18      2/14/2024   Michael Katzenstein    0.5     Review and correspond re: preference analysis and effective date planning.
 18 Total                                      2.1
    22      2/5/2024    Elizabeth Hu           0.3     Participate on weekly call with AHG and Debtor advisors re: case issues
                                                       including claims and distribution.
    22      2/5/2024    Michael Katzenstein     0.4    Participate on weekly call with AHG and Debtor advisors re: case issues
                                                       including claims and distribution.
    22      2/5/2024    Megan Hyland            0.2    Participate on weekly call with AHG and Debtor advisors re: case issues
                                                       including claims and distribution (partial).
 22 Total                                       0.9
    24      2/1/2024    Monica Healy           2.9     Prepare December fee application to meet bankruptcy guidelines.
    24      2/2/2024    Megan Hyland           0.4     Follow up with Counsel on outstanding fee application orders.
    24      2/2/2024    Alysen Garces          0.3     Provide update to team of key filings re: interim fee application.
    24      2/5/2024    Monica Healy           1.8     Continue to prepare December fee application to meet bankruptcy guidelines.
    24      2/5/2024    Elizabeth Hu           0.4     Review December fee application draft and provide comments.
    24      2/21/2024   Marili Hellmund-Mora   0.9     Update the December fee application.
 24 Total                                       6.7
Grand Total                                    34.3
